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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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PEDRO FONTANES,
COMPLAINT
Plaintiff,
VS.

LOBUE CALOGERO and BAGEL PUB CORP,

Defendants.

sites x

INJUNCTIVE RELIEF SOUGHT

Plaintiff, PEDRO FONTANES (“Plaintiff”), by and through the undersigned counsel,
hereby files this Complaint against Defendants LOBUE CALOGERO and BAGEL PUB CORP.
(hereinafter “Defendants”) for injunctive relief pursuant to the Americans with Disabilities Act.
42 U.S.C. §12181, et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36
(“ADAAG”), the New York City Human Rights Law ("NYCHRL"), and the New York State
Human Rights Law ("NYSHRL") and allege as follows:

JURISDICTION

ls This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§1331 and
1343 for Plaintiff's claims arising under 42 U.S.C. §12181, et seq., based upon Defendants’
failure to remove physical barriers to access and violations of Title III of the ADA (see also, 28
U.S.C. §§2201 and 2201).

2. Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all events giving

rise to this lawsuit occurred in New York, County of Kings.
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PARTIES

3. Plaintiff, PEDRO FONTANES is a resident of the State of New York and this judicial
district, is sui juris, is disabled as defined by the ADA, is required to traverse in a wheelchair, is
substantially limited in performing one or more major life activities, including but not limited to
walking, standing, grabbing, grasping and/or pinching. Plaintiff uses a wheelchair for mobility
purposes, Plaintiffs access to the business at LOBUE CALOGERO and BAGEL PUB CORP.
(“the Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,
privileges, advantages and/or accommodations offered therein were denied and/or limited
because of these disabilities, and will be denied and/or limited in the future unless and until
Defendants are compelled to remove the physical barriers to access and correct the ADA
violations which exist at the Property and Facility, including those set forth in this Complaint.

4. On July 4, 2017, Plaintiff visited the facility with the intention of being a repeat customer
at Calexico. As a result of the barriers he had extreme difficult patronizing the premises.

Plaintiff lives approximately 10 miles from the Facility and Property.

5. Plaintiff intends to visit the Facility and Property within six months. or sooner, to
purchase food. Plaintiff has visited the Facility and Property at least once before and intends on
visiting the Facility and Property within the next six months, or sooner, as soon as the Facility
and Property are accessible again.

6. In this instance, Plaintiff travelled to the Facility and Property as a customer, encountered
the barriers to access at the Facility and Property detailed in this Complaint, engaged those
barriers, suffered legal harm and legal injury, and will continue to suffer such harm and injury as
a result of the illegal barriers to access and Defendants’ ADA violations discussed below.

7. Defendant BAGEL PUB CORP. is a New York Corporation, and transacts business in

the State of New York and within this judicial district. It operates the business at 287 9" Street,
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Brooklyn, New York doing business as “Bagel Pub” referred to in the Complaint as the
“Facility”. BAGEL PUB CORP. is the lessee, sub-lessee, lessor and/or operator of the real
property and improvements which are the subject of this action.

8. Defendant LOBUE CALOGERO. is an individual, who resides in the State of New York
and within this judicial district. LOBUE CALOGERO is the owner and/or operator of the real
property and improvements which the Facility is situated in and is the subject of this action.
(referred in this Complaint as the “Property”’)

FACTUAL ALLEGATIONS AND FIRST CAUSE OF ACTION

9. On July 26, 1990, Congress enacted the Americans with Disabilities Act 42 U.S.C.
§12101, et seq.

10. Congress found, among other things, that:

(i) some 43,000,000 Americans have one or more physical or mental disabilities, and this
number is increasing as the population as a whole is growing older;

(il) historically, society has tended to isolate and segregate individuals with disabilities, and,
despite some improvements, such forms of discrimination against individuals with disabilities
continue to be a serious and pervasive social problem;

(iii) discrimination against individuals with disabilities persists in such critical areas as
employment, housing public accommodations, education, transportation, communication,
recreation, institutionalization, health services, voting, and access to public services;

(iv) individuals with disabilities continually encounter various forms of discrimination,
including outright intentional exclusion, the discriminatory effects of architectural,
transportation, and communication barriers, overprotective rules and policies, failure to make
modifications to existing facilities and practices, exclusionary qualification standards and
criteria, segregation, and relegation to lesser service, programs, activities, benefits, jobs, or other
opportunities; and
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(v) the continuing existence of unfair and unnecessary discrimination and prejudice denies
people with disabilities the opportunity to compete on an equal basis and to pursue those
opportunities for which our free society is justifiably famous, and costs the United States billions
of dollars in unnecessary expenses resulting from dependency and nonproductivity.

42 U.S.C. §12101(a)(1) - (3), (5) and (9).
11. | Congress explicitly stated that the purpose of the ADA was to:

(i) provide a clear and comprehensive national mandate for the elimination of discrimination
against individuals with disabilities:

(ii) provide a clear, strong, consistent, enforceable standards addressing discrimination
against individuals with disabilities; and

(iv) invoke the sweep of congressional authority, including the power to enforce the
fourteenth amendment and to regulate commerce, in order to address the major areas of
discrimination faced day-to-day by people with disabilities.

42 U.S.C. §12101(b)(1)(2) and (4).

12. The congressional legislation provided places of public accommodation one and a half
years from the enactment of the ADA to implement the requirements imposed by the ADA. The
effective date of Title III of the ADA was January 26, 1992, or January 26, 1993 if defendant has
10 or fewer employees and gross receipts of $500,000 or less. 42 U.S.C. § 12181; 28 C.F.R.
§36.508(a)

13. The Facility is a public accommodation and service establishment. The Property is a

public accommodation and service establishment.
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14. Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of
Justice, Office of Attorney General, promulgated federal regulations to implement the
requirements of the ADA. 29 C.F.R. Part 36. Public accommodations were required to conform
to these regulations by January 26, 1992 (or January 26, 1993 if defendant has 10 or fewer
employees and gross receipts of $500,000 or less). 42 U.S.C. §1281, et seq., and 28 C.F.R.
§36.508(a).

15. The Facility must be, but is not, in compliance with the ADA and ADAAG. The

Property must be, but is not, in compliance with the ADA and ADAAG,

16. Plaintiff has attempted to access the Facility and the Property in his capacity as a
customer of the Facility and Property, but could not fully do so because of his disabilities due to
the physical barriers to access, dangerous conditions and ADA violations that exist at the Facility
and Property that preclude and/or limit his access to the Facility and Property and/or the goods,
services, facilities, privileges, advantages and/or accommodations offered therein, including
those barriers, conditions and ADA violations more specifically set forth in this Complaint.

17. Plaintiff intends to visit the Facility and Property again in the very near future as a
customer in order to utilize all of the goods, services, facilities, privileges, advantages and/or
accommodations commonly offered at the Facility and Property, but will be unable to fully do so
because of his disability and the physical barriers to access, dangerous conditions and ADA
violations that exist at the Facility and Property that preclude and/or limit his access to the
Facility and Property and/or the goods, services, facilities, privileges, advantages and/or
accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.
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18. Defendants have discriminated against Plaintiff and others with disabilities, by denying
access to, and full and equal enjoyment of the goods, services, facilities, privileges, advantages
and/or accommodations of the Facility and Property, as prohibited by, and by failing to remove
architectural barriers as required by 42 U.S.C. §12182(b)(2)(A)(iv), and will continue to
discriminate against Plaintiff and others with disabilities unless and until Defendants are
compelled to remove all physical barriers that exist at the Facility and Property, including those
specifically set forth herein, and make the Facility and Property accessible to and usable by
persons with disabilities, including Plaintiff.

19. Defendants have discriminated against Plaintiff by failing to comply with the above
requirements. Prior to the filing of this Complaint, Plaintiff was made aware of the following
specific violations present at the Facility. A specific, although not exclusive, list of unlawful
physical barriers, dangerous conditions and ADA violations which Plaintiff experienced and/or
observed and preclude and/or limit Plaintiff's ability (because of his disability) to access the
Facility and Property and/or full and equal enjoyment of the goods, services, facilities,
privileges, advantages and/or accommodations of the Facility and Property, include:

ACCESSIBLE ELEMENTS

a. The doorway of the accessible entrance is not level in violation of section
404.2.4.4 of the 2010 ADAAG standards. This violation made it difficult for
Plaintiff to access the units of the Property.

b. The Facility lacks at least 5% (five percent) of the external dining surfaces
provided for consumption of food or drink that comply with section 902.2 of the
2010 ADAAG standards, requiring appropriate knee and toe clearance complying
with section 306 of the 2010 ADAAG standards, positioned for a forward

approach, in violation of section 226.1 of the 2010 ADAAG standards.
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é. The Property has a ramp leading to the accessible entrance with a slope exceeding
1:10 in violation of section 405.2 of the 2010 ADAAG standards. This violation
made it dangerous and difficult for Plaintiff to access the units of the Property.

d. The door to the accessible entrance of the Facility lacks a proper minimum
maneuvering clearance in violation of section 404.2.4 of the 2010 ADAAG
standards. This violation made it difficult and dangerous for Plaintiff to access
the interior of the property.

e. The interior of the Facility has sales and services counters lacking any portion of
the counter that has a maximum height of 36 inches from the finished floor in
violation of section 904.4 of the 2010 ADAAG standards, all portions of the sales
and service counter exceed 36 inches in height from the finished floor. This
violation made it difficult for Plaintiff to properly transact business at the Facility.

f. Due to the accessible barrier present at the accessible entrance, the Facility lacks
at least one accessible route provided within the site to the public streets and
sidewalks in violation of section 206.2.1 of the 2010 ADAAG standards.

g. The Facility lacks an access route from site arrival points such as the public
streets and sidewalks to the accessible entrance in violation of section 206.2.1 of
the 2010 ADAAG standards.

h. There is not at least one accessible entrance to each tenant space in the building
that complies with section 404 of the 2010 ADAAG standards which is a
violation of section 206.4.5 of the 2010 ADAAG Standards,

i. Defendants fails fail to adhere to a policy, practice and procedure to ensure that

all facilities are readily accessible to and usable by disabled individuals.
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The facility has an inaccessible backyard seating area are in violation of 303.4
and 206.2.4 of the 2010 ADAAG standards. This violation made it difficult for
Plaintiff to access public features of the Facility. More specifically, there are
multiple steps at the rear of the property which leads from the interior of the

facility to the backyard seating area.

RESTROOMS

a.

The Facility lacks restrooms signage in compliance with sections 216.8 and 703
of the 2010 ADAAG standards. This made it difficult for Plaintiff to locate
accessible restroom facilities.

The restrooms lack proper door hardware in violation of section 404.2.7 of the
2010 ADAAG standards. This made it difficult for Plaintiff to utilize the restroom
facilities.

The paper towel dispenser in the restroom is located outside the prescribed
vertical reach ranges set forth in section 308.2.1 of the 2010 ADAAG standards.
This made it difficult for Plaintiff to safely utilize the restroom facilities.

The mirror in the bathrooms exceeds the maximum height permitted by Section
603.3 of the 2010 ADAAG standards. This violation made it difficult for the
Plaintiff to properly utilize public features of the restroom.

Restrooms have a sink and/or vanity with inadequate knee and toe clearance in
violation of section 306 of the 2010 ADAAG standards. This made it difficult for

Plaintiff to safely utilize the restroom facilities.
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f. The toilet paper dispenser in the accessible lavatory is not positioned properly and
violates section 604.7 of the 2010 ADAAG standards. This made it difficult for
Plaintiff to safely utilize the restroom facilities.

g. There is inadequate clear turning space in violation of section 603.2.1 of the 2010
ADAAG standards. This made it difficult for Plaintiff to safely utilize the
restroom facilities.

h. The hand operated flush control is not located on the open side of the accessible
stall in violation of section 604.6 of the 2010 ADAAG standards. This made it
difficult for Plaintiff to safely utilize the restroom facilities.

i. The grab bars/handrails adjacent to the commode are missing and violate section
604.5 of the 2010 ADAAG standards. This made it difficult for Plaintiff to safely
utilize the restroom facilities.

20. Since the barriers to access at the Facility and Property prevented Plaintiff from entering,
the above listing is not to be considered all-inclusive of the barriers, conditions or violations
encountered by Plaintiff and/or which exist at the Facility and Property. Plaintiff requires an
inspection of Facility and Property in order to determine all of the discriminatory acts violating
the ADA.

21. The removal of the physical barriers and dangerous conditions present at the Facility and
Property is readily achievable because the nature and cost of the modifications are relatively low
and the Defendant has the financial resources to make the necessary modifications.

22. Upon information and belief, the Facility and Property has been altered since 2010.
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23. In instances where the 2010 ADAAG standard does not apply, the 1991 ADAAG
standard applies and all of the violations listed in paragraph 18 can be applied to the 1991
ADAAG standards.

24. Plaintiff has attempted to gain access to the Facility and Property in his capacity as a
customer, but because of his disability has been denied access to, and has been denied the
benefits of services. programs and activities of the Facility and Property, and has otherwise been
discriminated against and damaged by Defendants, because of the physical barriers, dangerous
conditions and ADA violations set forth above, and expect to be discriminated against in the near
future by Defendants because of Plaintiff's disabilities, unless and until Defendants are
compelled to remove the unlawful barriers and conditions and comply with the ADA.

25. The removal of the physical barriers, dangerous conditions and ADA violations set forth
herein is readily achievable and can be accomplished and carried out without much difficulty or
expense. 42 U.S.C. §12182(b)(2)(A)(iv); 42 U.S.C. §12181(9); 28 C.F.R. §36.304.

26. Plaintiff is without adequate remedy at law, is suffering irreparable harm, and reasonably
anticipates that he will continue to suffer irreparable harm unless and until Defendants are
required to remove the physical barriers, dangerous conditions and ADA violations that exist at
the Facility and Property, including those set forth herein. The relief requested serves the public
interest and the benefit to Plaintiff and the public far outweigh any detriment to Defendant.

27. Plaintiff has been obligated to retain the undersigned counsel for the filing and
prosecution of this action, and has agreed to pay the undersigned counsel reasonable attorney's
fees, costs, and expenses from Defendants pursuant to 42 U.S.C. § § 12205 and 12117, and

Plaintiff is entitled to attorney's fees, costs, and expenses from Defendants.
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28. Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant injunctive
relief to Plaintiff, including an order to alter the subject Facility and Property to make it readily
accessible to and useable by individuals with disabilities to the extent required by the ADA.

SECOND CAUSE OF ACTION- VIOLATIONS OF NEW YORK CITY HUMAN

RIGHTS LAW

29. The New York City Human Rights Law provides:

“(a) It shall be an unlawful discriminatory practice for any person, being the owner,
lessee, proprietor, manager, superintendent, agent or employee of any place or provider
of public accommodation because of the actual or perceived ... disability ... of any person,
directly or indirectly, to refuse, withhold from or deny to such person any of the
accommodations, advantages, facilities or privileges thereof ... to the effect that any of
the accommodations, advantages, facilities and privileges of any such place or provider
shall be refused, withheld from or denied to any person on account of... disability NYC
Admin. Code § 8-107(4)(a).”

30. Defendants are in violation of the New York City Human Rights Law by denying the
Plaintiff full and safe access to all of the benefits, accommodations and services of the Subject
Facility.

31. The Plaintiff repeats and re-alleges the allegations of paragraphs | through 31 as if set forth

in their entirety here.

THIRD CAUSE OF ACTION- VIOLATIONS OF THE NEW YORK STATE HUMAN

RIGHTS LAW

32. The New York State Human Rights Law provides:

“(a) It shall be an unlawful discriminatory practice for any person, being the owner,
lessee, proprietor, manager, superintendent, agent or employee of any place of public
accommodation..., because of the disability ... of any person, directly or indirectly, to
refuse, withhold from or deny to such person any of the accommodations, advantages,
facilities or privileges thereof ... to the effect that any of the accommodations,
advantages, facilities and privileges of any such place shall be refused, withheld from or
denied to any person on account of... disability. NYS Exec. Law § 296 (2)(a).”
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33. Defendants’ Property is a place of public accommodation as defined in the New York
State Human Rights Law.
34. The Defendants have further violated the New York State Human Rights Law by being in
violation of the rights provided under the ADA.
35. Defendants are in violation of the New York State Human Rights Law by denying the
Plaintiff full and safe access to all of the benefits, accommodations and services of the Subject
Facility.
36. The Plaintiff repeats and re-alleges the allegations of paragraphs | through 36 as if set
forth in their entirety here.
DAMAGES, ATTORNEY FEES AND COSTS

37. The Plaintiff demands five hundred dollars ($500.00) in compensatory damages based on
the Defendant's violation of the New York City Human Rights Law and the New York State
Human Rights Law.
38. The Plaintiff has been obligated to retain the undersigned counsel for the filing and
prosecution of this action. The Plaintiff is entitled to have his reasonable attorneys’ fees, costs
and expenses paid by the Defendants, pursuant to the ADA and the New York City Human
Rights Law.
39. Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including compensatory
damages contemplated by § 297(9).

WHEREFORE, Plaintiff respectfully requests that this Court issue a permanent
injunction enjoining Defendants from continuing their discriminatory practices, ordering

Defendants to remove the physical barriers to access and alter the subject Facility to make it
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readily accessible to and useable by individuals with disabilities to the extent required by the

ADA, and award Plaintiff his reasonable attorneys' fees, litigation expenses and costs.

Dated: July 28, 2017
New York. New York

Respectfully Submitted,
SEKENDIZ LAW F PC,
s/

Ismail endiz (IS-0509)
Atto for Plaintiff
45 Broadway Suite: 1420

New York, New York 10006
(212) 380-8087
isinan(@hotmail.com

